      Case 1-17-46613-nhl         Doc 56      Filed 04/19/18      Entered 04/19/18 18:15:38




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK

 ------------------------------------------- x
 In Re:                                      :
                                             :                           Chapter 11
 BRACHA CAB CORP., et al.                    :
                                             :                           Case No.
                                             :                           1-17-46613 (NHL)
                                             :
                                             :                           RESPONSE AND
                                             :                           OBJECTIONS TO
                                             :                           NOTICE OF MOTION
                                             :
                                             :                           Jointly Administered
                                             :
 --------------------------------------------x

        Brian Thomas McCarthy, an attorney duly admitted to practice law in this Court, hereby

declares the following to be true and correct under the penalties of perjury:

        1.      I am an Associate with the law firm of Abrams, Fensterman, Fensterman, Eisman,

Formato, Ferrara, Wolf & Carone, LLP, attorneys for Creditor, Co-Owner of Jarub Trans. Corp.

(“Jarub”) and nominated Co-Executor of the Estate of Jacob Elberg, Ruben Elberg, and, as such,

I am fully familiar with the facts and circumstances set forth herein.

        2.      I make this Declaration in Response to and to Object to the Debtors’ Notice of

Motion to Increase Its Exclusive Period For Filing A Plan of Reorganization.

        3.      The Debtors have forum shopped and now attempt to utilize this Court, and the

instant bankruptcy action, to circumvent the Surrogate’s Court, Kings County, which has the

primary duty and obligation to ensure that the lawful debts of the Estate of Jacob Elberg are paid

by the fiduciaries of the estate from the assets of the estate.

        4.      With regard to the Estate of Jacob Elberg, an entity which was not even named as

an interested party when this bankruptcy action was commenced and when the Meeting of



                                                   1
      Case 1-17-46613-nhl        Doc 56      Filed 04/19/18     Entered 04/19/18 18:15:38




Creditors was held, this includes the right of the Surrogate’s Court to claw back assets of the Estate

(i.e., the taxi medallion companies and the taxi medallions these companies’ own), which were

previously distributed to Esma Elberg, the widow of Jacob Elberg. See Estate of Berg, 398

N.Y.S.2d 948, 952(Sur. Ct., N.Y. Cnty. 1977) (ordering the widow to “refund so much of the cash

previously distributed to her as shall be needed by the estate for the payment of proper

administration expenses and claims.”).

       5.      Permitting this bankruptcy action to proceed would only serve to frustrate the

orderly administration of the Estate of Jacob Elberg, which includes insuring the debts of the

Estate, including the Capital One claim related to the financing of the taxi medallions, are paid,

even if that requires clawing back the taxi medallion companies from Esma Elberg to ensure the

Estate of Jacob Elberg has sufficient assets to pay the outstanding debts. See id.

       6.      As more fully discussed below, Debtors’ own thirty-one taxi medallions, which are

individually owned by fourteen companies that were previously owned, solely, by Jacob Elberg at

the time he died and one company which was fifty (50%) percent owned by Jacob Elberg and fifty

(50%) percent owned by Ruben Elberg.

       7.      Jacob Elberg’s interest in these companies was transferred to his widow, Esma

Elberg. However, these transfers occurred with full knowledge that the Surrogate’s Court retains

the authority to claw back these assets into Estate of Jacob Elberg to ensure that the lawful debts

of the estate were paid.

       8.      However, the Debtors have sought to circumvent the orderly administration of the

Estate of Jacob Elberg, by utilizing this Court to either discharge a substantial part of the debt

owed to Capital One or to sell the Debtor’s assets to preclude them from being clawed back by the

Surrogate’s Court.



                                                  2
      Case 1-17-46613-nhl        Doc 56      Filed 04/19/18    Entered 04/19/18 18:15:38




       9.      In this regard, it was not an error or omission that the Estate of Jacob Elberg was

not named as an interested party in this action when it was filed.

       10.     This was part of a pattern of deception that continues in the instant Motion.

       11.     In the Debtors’ current Motion, the fifteen (15) Debtors corporations assert that

they “own 35 tax medallions” and “each of the medallions is used by a New York City taxi cab

and each generates income for the Debtors.” See Docket Entry No. 51 at ¶ 2.

       12.     These statements are false.

       13.     This Response and Objection is being filed to object to this Motion as the Debtors

have repeatedly lied to this Court regarding their ownership interest in the corporations that own

the taxi medallions.

       14.     As stated in Ruben Elberg’s Response to the Motion to Vacate the Automatic Stay,

or Dismiss, see Docket Entry No. 40, the Debtors have repeatedly failed to identify Ruben Elberg

as a person interested in this action, despite knowing that Ruben Elberg is a fifty (50%) percent

Co-Owner of Debtor, Jarub, the sole owner of non-parties, Merill Transit Inc. (“Merill”) and

Spindle Cab Corp. (“Spindle”), and currently Capital One has a judgment against him, in excess

of 4.8 million dollars, arising from an action commenced by Capital One Taxi Medallion Finance

for personal guarantees signed by Ruben Elberg for debts owed by these three corporations (i.e.,

Debtor, Jarub and non-parties, Merill and Spindle). See Capital One Taxi Medallion Finance v.

JEB Management Corp. and Ruben Elberg, Index No. 60814/2015 (Sup. Ct., Suffolk Cnty. 2015).

       15.     With regard to Ruben’s ownership interests in Debtor, Jarub and non-parties,

Spindle and Merill, attached herewith are true and accurate copies of records from the New York

City Taxi and Limousine Commission (“TLC”) that unequivocally establish that Ruben Elberg is




                                                 3
       Case 1-17-46613-nhl         Doc 56     Filed 04/19/18      Entered 04/19/18 18:15:38




the sole registered owner of Merill and Spindle and that he is the fifty (50%) percent owner of

Debtor, Jarub. See Exhibit “1”, TLC Records for Merill, Spindle and Debtor, Jarub.

        16.      It is indisputable that these three companies own six of the thirty-five taxi

medallions that are referenced in the pending Motion by the Debtors.

        17.      Two of these companies, Merill and Spindle, are not parties to this bankruptcy

action and their revenues should not be utilized to fund the Debtors.

        18.      In addition to the ownership records maintained by TLC, attached herewith are true

and accurate copies of Stock Certificates for each of these three corporations, which confirm

Ruben Elberg is fifty (50%) percent owner of Jarub and sole owner of Spindle and Merill. See

Exhibit “2”, Stock Certificates for Merill, Spindle and Debtor, Jarub.

        19.      Similarly, the Debtors have failed to fully disclose to this Court that the assets they

intend to rely on to repay Creditors are currently the subject of a dispute that is being litigated

before Justice Ramos of the New York State Supreme Court, County of New York. See Elberg v.

Crabapple Corp., Index Number 0653373/2016 (Sup. Ct., N.Y. Cnty. 2016); Crabapple Corp. v.

Royal One Real Estate LLC, Index No. 650492/2015 (Sup. Ct., N.Y. Cnty. 2015).

        20.      In fact, there is an ongoing evidentiary hearing before Justice Ramos which is

scheduled to resume on May 23, 2018 and continue on May 24, 2018.

        21.      Reference was made during the Creditors’ Meeting that certain debts would be

repaid from funds held by the Estate of Jacob Elberg. See Docket Entry No. 25, at Exhibit A, at p.

30 (attached herewith as Exhibit “3”) (“But there is a large amount of money sitting in an escrow

account from the sale of the buildings that her husband owned in Queens. And that money is tied

up in the litigation . . .”).




                                                   4
       Case 1-17-46613-nhl              Doc 56        Filed 04/19/18         Entered 04/19/18 18:15:38




         22.      At the time this representation was made, neither Ruben Elberg or the Estate of

Jacob Elberg was named as an interested party in this bankruptcy action, despite the fact that the

Debtors were indicating, through Esma Elberg, that it was their intention to pay some portion of

the debts owed by the Debtors with funds that were being held by the Estate of Jacob Elberg. Id.

         23.      These funds came from the sale of interests in certain Limited Liability

Corporations (“LLCs”) and Limited Partnerships (“LPs”), which had ownership interests in a two-

hotel development project in Long Island City, Queens, New York (the “Hotel Project”).

         24.      This 27 million-dollar transaction provides the overwhelming source of assets for

the Estate of Jacob Elberg, which the Debtors are asserting could be utilized to repay Capital One.

         25.      However, the Estate of Jacob Elberg is only entitled to sixty (60%) percent of the

net proceeds 1 of this 27 million-dollar sale, with Ruben Elberg, individually, receiving forty (40%)

percent of the net proceeds. 2

         26.      While reference was made during the Creditors’ Meeting to the ongoing disputes

and litigations pending in the Surrogate’s Court, Kings County and Supreme Court, New York

County, 3 no reference was made to the fact that the, Appellate Division, First Judicial Department,


1
  It is respectfully submitted that one of the largest expenses to be paid from the gross proceeds of this is the repayment
of $11,800,000.00 capital contribution, which was obtained from the corporations that owned thirty-five taxi
medallions, thirty of which were owned by corporations that were owned, in whole or in part, by Jacob Elberg, and
five of which that are owned by corporations that are owned, in whole or in part, Ruben Elberg. Accordingly, there is
approximately $9,800,000.00 that should be repaid to the corporations that are debtors in this action, with the
remaining approximately $2,000,000.00 repaid to the corporations that are owned by Ruben Elberg., for which he
signed personal guarantees. See Exhibit “4”, Deposition of Ruben Elberg Transcript, at p. 114, 118 (“the yellow cabs
[i.e., the Debtors, Merill and Spindle] that took the loans to RORE, capital contributions or loans to RORE, RORE
and RREM are the sole owners of everything.” “moneys were borrowed from taxi corporations. It was put in the
capital contributions into these companies [i.e., the LLCs (RORE and RREM0], and it has to be paid back to these
taxi corporations.”).
2
  Counsel for Capital One Equipment Finance Corp. is aware of this forty (40%) percent interest, in the LLCs and
Ruben Elberg’s interest as a Class D shareholder in the two LPs that were sold, and had an opportunity to depose
Ruben Elberg on this very topic during the June 22, 2017 deposition of Ruben Elberg as a Judgment Debtor of Capital
One Equipment Finance Corp. See Exhibit “4”, Deposition of Ruben Elberg Transcript, at p. 112-114 (questioning
Ruben Elberg on his forty (40%) percent interest in the LLCs and LPs that sold their interest in the Hotel Project
pursuant to the Order of Justice Ramos, which was subsequently reversed by the Appellate Division, First Judicial
Department).
3
  See Exhibit “3”, at p. 24-25, 30-32.

                                                            5
      Case 1-17-46613-nhl        Doc 56     Filed 04/19/18       Entered 04/19/18 18:15:38




held that Ruben Elberg was a forty (40%) percent owner of the LLCs that received loans from the

taxi medallion corporations (i.e., the Debtors, Spindle and Merill). See Crabapple Corp. v. Elberg,

153 A.D.3d 434 (1stDep’t 2017) (holding, “[t]he record demonstrates that he was a 40% minority

member [of the LLCs], . . .”).

       27.     Furthermore, the decision of the First Judicial Department also reversed an Order

that provided the sole basis for the sale of the Hotel Projects by Tamara Pewzner (“Pewzner”), as

Co-Executor of the Estate of Jacob Elberg. See Crabapple Corp. v. Elberg, 153 A.D.3d 434, 435

(1st Dep’t 2017) (“Order, Supreme Court, New York County (Charles E. Ramos, J.S.C.), entered

January 21, 2016, which, to the extent appealed from as limited by the briefs, granted defendants-

respondents' (the LLCs) motion to remove defendant Ruben Elberg (Elberg) as their co-manager

and fiduciary, unanimously reversed, without costs, the motion denied, and the matter remanded

to Supreme Court for further proceedings in accordance with this decision.”).

       28.     This was not disclosed at the Creditors’ Meeting, concealing the impact the

potential reversal of the sale would have on the Estate of Jacob Elberg and its ability to contribute

any funds to pay the debts currently owned by the Debtors in this action.

       29.     The Appellate Division, First Judicial Department also recognized that the sole

basis for Pewzner to claim any ability to act on behalf of the LLCs was the authority granted by

this Court to the fiduciaries of the Estate of Jacob Elberg. Id. (“Thus, Jacob's controlling interest

in the LLCs passed to his estate upon his death, and Elberg and Pewzner, the co-executors of the

estate, had the authority to act as co-managers of the LLCs”).

       30.     Despite this fact, the Estate of Jacob Elberg was not noticed when this action was

commenced.




                                                 6
      Case 1-17-46613-nhl        Doc 56      Filed 04/19/18      Entered 04/19/18 18:15:38




       31.     Following the First Department’s decision, the action was remanded for an

evidentiary hearing before Justice Ramos. Id.

       32.     This hearing commenced on February 20, 2018 and will continue on May 23, 2018

and May 24, 2018.

       33.     It cannot be disputed that given their involvement in the underlying litigation, both

the Debtor and counsel for Capital One Equipment Finance Corp. proceeded in this bankruptcy

action with full knowledge that Ruben Elberg had a forty (40%) percent interest in the LLCs and

an ownership interests in the Class C and Class D of the Limited Partnerships.

       34.     These corporate entities (i.e., the LPs and LLCs) whose interests in the Hotel

Projects were sold, pursuant to authority purportedly obtained from the now reversed Order of

Justice Ramos, which the Debtor has alleged will provide the source of funds to repay, in part, the

Creditors in this action.

       35.     However, both the Debtor and Capital One proceeded in this action without notice

to Ruben Elberg and without him appearing in this bankruptcy action, despite knowing of his forty

(40%) percent interest in the funds currently held by the Estate of Jacob Elberg, an interest that is

in excess of 11.8 million dollars.

       36.     These are critical and material facts as these funds (i.e., the funds that are rightfully

owned by Ruben Elberg), which are not owned by the Estate of Jacob Elberg, cannot be utilized

to pay creditors of the Estate nor utilized to pay the creditors of the Debtor in this action, despite

the claims of the Esma Elberg and Pewzner.

       37.     Furthermore, Ruben Elberg is a Creditor in this action as debts owned by Debtor,

Jarub, and non-parties, Merill and Spindle, to Capital One Equipment Finance Corp. were

personally guaranteed by Ruben Elberg.



                                                  7
      Case 1-17-46613-nhl        Doc 56     Filed 04/19/18     Entered 04/19/18 18:15:38




       38.     This status was only asserted by the Notice of Appearance filed by Ruben Elberg’s

counsel, as he was not named as Creditor by the Debtor.

       39.     This is material to this action as Capital One eventually obtained a judgment against

Ruben Elberg personally for an amount in excess of $4,804,628.68. See Capital One Taxi

Medallion Finance v. JEB Management Corp. and Ruben Elberg, Index No. 608014/2015 (Sup.

Ct. Suffolk Cnty. 2015).

       40.     Pursuant to the above-mentioned judgment, Capital One’s counsel, the same

counsel in this action, deposed Ruben Elberg. See Exhibit “4”.

       41.     Accordingly, Ruben Elberg is a Creditor of Debtor, Jarub, and non-parties, Merill

and Spindle, as Capital One commenced an action solely against Ruben Elberg’s personal

guarantee for loans that were taken from Capital One by these corporations.

       42.     Ruben Elberg respectfully submits this response to provide the Court and the

Trustee with relevant and material information, which will significantly impact this action.

       43.     Furthermore, Ruben Elberg respectfully requests that he be recognized as a Creditor

in this action and he further be recognized as a fifty (50%) percent Owner of Debtor, Jarub, and

the Court be made aware that he was not consulted regarding the decision to have Debtor Jarub

file bankruptcy, nor did he consent to any such filing.




                                                 8
      Case 1-17-46613-nhl      Doc 56     Filed 04/19/18     Entered 04/19/18 18:15:38




       44.    Accordingly, we respectfully request this Court exercise its considerable equitable

powers and deny the instant motion and grant Capital One’s pending Motion in part, by either

dismissing the instant bankruptcy proceeding, or appointing an independent bankruptcy Trustee.

Dated: April 19, 2018
                                            Yours etc.,

                                            ABRAMS, FENSTERMAN, FENSTERMAN,
                                            EISMAN, FORMATO, FERRARA, WOLF &
                                            CARONE, LLP
                                            By:____s/Brian Thomas McCarthy______________

                                                  Brian Thomas McCarthy (BM-4808)
                                               630 Third Avenue, Fifth Floor
                                               New York, New York 10017
                                               (212) 279-9200

                                               bmccarthy@abramslaw.com
                                               Attorneys for Ruben Elberg




                                               9
